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 9
                          UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA

11
     Ms. L.,                                             Case No. 18-cv-00428-DMS-MDD
12
                           Petitioner-Plaintiff,
13   v.
                                                         Date Filed: March 2, 2018
14   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
15   (“DHS”); U.S. Customs and Border Protection
     (“CBP”); U.S. Citizenship and Immigration
16   Services (“USCIS”); U.S. Department of Health
     and Human Services (“HHS”); Office of
17   Refugee Resettlement (“ORR”); Thomas                PETITIONER-PLAINTIFF’S
     Homan, Acting Director of ICE; Greg                 MEMORANDUM IN
18   Archambeault, San Diego Field Office Director,      SUPPORT OF MOTION TO
     ICE; Joseph Greene, San Diego Assistant Field       EXPEDITE PRELIMINARY
19   Office Director, ICE, Otay Detention Facility;      INJUNCTION SCHEDULE
     Kirstjen Nielsen, Secretary of DHS; Jefferson
20   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
21   Commissioner of CBP; L. Francis Cissna,
     Director of USCIS; Pete Flores, San Diego Field
22   Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
23   the Department of Health and Human Services;
     Scott Lloyd, Director of the Office of Refugee
24   Resettlement,
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                            Respondents-Defendants.
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                                                                                18cv0428
     Spencer E. Amdur (SBN 320069)
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1          Petitioner-Plaintiff respectfully moves for an expedited schedule for her
2    motion for preliminary injunction, which was filed today.
3          The government forcibly separated Petitioner and her 7 year-old daughter
4    after they arrived at the border and applied for asylum in November 2017. Since
5    the separation nearly 4 months ago, Petitioner has been detained in San Diego, but
6    her child has been all alone, terrified, and crying for her mother at a facility in
7    Chicago, even though Defendants have multiple facilities that are specifically
8    designed to house parents and children together. Petitioner’s motion for
9    preliminary injunction contends that her forcible separation from her daughter
10   violates her fundamental due process right to family integrity as well as the APA.
11         Expedition is necessary to remedy the devastating harms that this separation
12   is inflicting with each passing day. As the sworn testimony of nine medical experts
13   in this case makes clear, the trauma of forced separation from a parent imposes
14   severe and long-lasting psychological and emotional damage on young children,
15   especially children who are incarcerated and have already suffered the trauma of
16   fleeing their home country. That damage is increasing with each day that Petitioner
17   and her child are separated.
18         Accordingly, Petitioner respectfully requests that the Court set the following
19   expedited deadlines for her motion for preliminary injunction:
20      • Government’s opposition due Friday, March 9, 2018.
21      • Petitioner’s reply due Tuesday, March 13, 2018.
22      • Oral argument set for as soon as possible thereafter, if the Court deems
23         argument necessary.
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     Dated: March 2, 2018                Respectfully Submitted,
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                                         /s/Lee Gelernt
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                             CERTIFICATE OF SERVICE
 1

 2         I hereby certify that on March 2, 2018, I electronically filed the foregoing
 3   with the Clerk for the United States District Court for the Southern District of
 4
     California by using the appellate CM/ECF system. A true and correct copy of this
 5

 6   brief has been served via the Court’s CM/ECF system on all counsel of record.
 7                                              /s/ Lee Gelernt
                                                Lee Gelernt, Esq.
 8                                              Dated: March 2, 2018
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